       Case: 24-10951          Document: 218   Page: 1   Date Filed: 07/10/2025




                IN THE UNITED STATES COURT OF APPEALS
                        FOR THE FIFTH CIRCUIT


Ryan, L.L.C.,
                      Plaintiff-Appellee,

Chamber of Commerce of the United States of                      No. 24-10951
America, et al.,
                 Intervenor-Plaintiffs-Appellees,

                 v.

Federal Trade Commission,
                 Defendant-Appellant.




  CORRECTED STATUS REPORT AND MOTION TO HOLD APPEAL
          IN ABEYANCE FOR 60 ADDITIONAL DAYS

      Pursuant to Federal Rule of Appellate Procedure 27 and this Court’s order of

March 12, 2025, the government respectfully submits this status report on ongoing

agency proceedings and moves to hold this appeal in abeyance for 60 additional days.

The government proposes to file a status report in 60 days, on September 8, 2025,

regarding appropriate next steps in this appeal. Plaintiff does not oppose this motion,

subject to the Commission’s status report being due by September 8, and intervenor-

plaintiffs do not oppose this motion.

      1. In May 2024, the Federal Trade Commission issued a rule that defines most

existing non-competes as unenforceable unfair methods of competition (subject to an

exception for certain senior executives) and bans the future use of most non-
        Case: 24-10951      Document: 218       Page: 2   Date Filed: 07/10/2025




competes. Non-Compete Clause Rule, 89 Fed. Reg. 38,342 (May 7, 2024). Plaintiff

and intervenor-plaintiffs challenged that rule, and the district court granted summary

judgment in their favor and vacated the rule universally. See ROA.5637. This appeal

followed.

      In March 2025, the Commission moved to hold this appeal in abeyance for 120

days. As that motion explained, the newly appointed Chairman of the Commission

had publicly stated that he believed the Commission should reconsider its defense of

the rule challenged in this case. In light of that statement, the Commission believed

that holding this appeal in abeyance would conserve party and judicial resources and

promote the efficient and orderly disposition of this appeal. On March 12, 2025, this

Court granted the Commission’s motion and directed that, at the end of the 120-day

abeyance period, the Commission file a status report.

      2. Since this Court granted the Commission’s abeyance motion, the

Commission has undergone significant personnel changes, including the Senate

confirmation and the swearing in of Commissioner Mark Meador. In light of these

changes and the press of Commission business, some additional time is necessary to

determine whether the Commission should reconsider its defense of the rule

challenged in this case. Thus, the Commission respectfully requests that this Court

extend the previously granted abeyance for an additional 60 days. The Commission

would respectfully propose that it file another status report at the end of that 60-day


                                            2
          Case: 24-10951   Document: 218       Page: 3    Date Filed: 07/10/2025




period regarding appropriate next steps in this appeal.

      3. Plaintiff does not oppose this motion, subject to the Commission’s status

report being due by September 8, and intervenor-plaintiffs do not oppose this

motion.



                                                Respectfully submitted,

                                                MICHAEL S. RAAB

                                                 /s/ Sean R. Janda_
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July 2025




                                           3
       Case: 24-10951      Document: 218       Page: 4   Date Filed: 07/10/2025




                      CERTIFICATE OF COMPLIANCE

      I hereby certify that the foregoing complies with the type-volume limitation of

Fed. R. App. P. 27(d)(2) because it contains 389 words, according to the count of

Microsoft Word.


                                                 /s/ Sean R. Janda
                                                Sean R. Janda




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